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Honorable Robert Drain                              May 11, 2020
United States Bankruptcy Judge
United States Bankruptcy Court
Southern District of New York
300 Quarropas Street
White Plains, New York 10601-4140
   Re: Purdue Pharma L.P., et al, Case No. 19-23649 [RDD]


Dear Judge Drain:
This is an addition to the letter I wrote to you in October, 2019
against the proposed settlement for Purdue Pharma in
bankruptcy court which absolves the Sacklers of responsibility
for the opioid epidemic which has taken the lives of nearly
400,000 Americans with multiples more suffering from the
potentially lethal disease of opioid addiction.
For the past 17 years, I have been involved as a medical advisor
for groups of people who have lost loved ones to opioids. I
attended the 2007 federal trial of the three Purdue Pharma
executives at which many of these people gave heart-
wrenching testimonies about their deceased loved ones who
died while having no idea about the dangers of OxyContin and
other prescription opioids. My medical practice of internal
medicine and rheumatology has extended over 40 years which
spanned two medical generations, including the heroin
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epidemic of NYC in the late 60’s and early 70’s during which, as
a resident in internal medicine in NYC, I cared for patients with
some of the most severe complications of heroin, while
becoming very familiar with the many adverse effects of
opioids on both the human body and brain. At the onset of the
current opioid epidemic many years later, I couldn’t believe
that OxyContin and other opioids were being promoted and
prescribed so broadly and non-selectively for almost anyone
with pain. In 2010, I became a founding member and the
Rheumatology Consultant for Physicians for Responsible Opioid
Prescribing, the leading national group of medical experts of
multiple specialties who have addressed needed
recommendations and potential solutions to the opioid
epidemic from different perspectives.
This public health epidemic, which has been called the worst in
the nation’s history by the CDC, was made possible from its
onset by a medical doctor, Richard Sackler, who was also
trained in NYC at NYU Medical School during the above earlier
heroin epidemic. Unless he slept his way through medical
school, he should have learned from this experience about the
dangers of opioids, especially when used across-the-board for
all types of pain, well beyond their accepted use for the pain of
cancer, end-of-life, acute traumatic and surgical conditions, and
selected patients with severe chronic noncancer pain. Instead,
he decided to follow in the footsteps of his uncle, Arthur
Sackler, who took advantage of the known effects of
dependency and addiction with the chronic use of Valium, by
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marketing this potent brain-active tranquilizer for all degrees of
anxiety, especially to housewives for the minor stresses and
tensions of everyday living. But this was the formula which
guaranteed repeated refills with a massive increase in
prescribing, sales and profits, which Richard Sackler then
applied to OxyContin. By promoting this addictive opioid for all
types and degrees of pain, he lied about both its benefits,
which he markedly overstated, and its risks, which he grossly
understated, while calling those unfortunate patients who
became addicted to OxyContin, “reckless criminals.” He did this
despite a lack of scientific evidence showing that opioids were
safe and effective long-term for chronic pain. And the rest of
the story became the tragic history of the last 20 years which
we have all lived through.
It is clear that Richard Sackler possessed the medical knowledge
which could have been used for the benefit of humanity, but
instead he used it for his and his family’s personal gain, and
blatantly violated the first dictum of medicine to “first do no
harm.” It was a glaring example of fraud as a result of distorted
medical and ethical priorities, which disgraced the once proud
profession of medicine and lowered the quality of medical care.
His fraudulent marketing directly led to the greatly expanded
prescribing of opioids for all types and degrees of pain which
was the nidus for the tremendous volume of opioid-related
death and addiction, and the other grave consequences of the
opioid epidemic. These are the consequences which countless
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people, including all those who protested at the 2007 federal
trial of Purdue, have experienced and suffered through.
He should be held accountable and made to pay for his crimes
under established criminal statues, which is but small
atonement for the incalculable devastation he has inflicted
upon the public health and American society, which will last for
many more years. And this is precisely why any settlement
which allows him and the rest of the Sackler family members
who sat on Purdue’s Board of Directors, as well as Purdue
Pharma, to escape accountability, should be clearly rejected.
In addition, in support of the request of Harrison Cullen filed on
5/6/20 and others, all the family members who lost loved ones
and are filing claims against Purdue Pharma, that, in view of all
the hardships and obstacles imposed by COVID-19, they should
be given sufficient time to file, and at the very least, the
deadline should be extended from June 30th to September 30th,
2020.
Thank you kindly.


Sincerely,
Stephen G. Gelfand, MD, FACP, FACR
Rheumatology Consultant, disability peer-reviewer and legal
medical expert
Myrtle Beach, SC
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